Case 2:17-cr-20595-VAR-EAS ECF No. 102 filed 08/23/18        PageID.2027    Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                    Plaintiff,            CR. NO. 17-20595
 v.
                                          HONORABLE MARIANNE O. BATTANI

 YOUSEF RAMADAN,

                    Defendant.
                                      /

             STIPULATION AND ORDER TO FILE MOTION TO
               DISMISS (DKT. ENTRY NO. 100) UNDER SEAL

       The above parties, by their respective counsel, stipulate that Defendant’s

 Motion to Dismiss the Indictment for Outrageous Governmental Conduct, Docket

 Entry No. 100 shall be filed under seal, as it may contain sensitive and/or protected

 information, that should not be available for public viewing.

 s/Ronald Waterstreet (w/consent) s/Andrew Densemo
 RONALD WATERSTREET (P42197)            ANDREW DENSEMO (P37583)
 Assistant U.S. Attorney                Attorney for Defendant
 211 W. Fort, Suite 2001                613 Abbott, 5th Floor
 Detroit, Michigan 48226                Detroit, Michigan 48226
 (313) 226-9593                         (313) 967-5829



 Dated: August 23, 2018
Case 2:17-cr-20595-VAR-EAS ECF No. 102 filed 08/23/18         PageID.2028    Page 2 of 2




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                     Plaintiff,            CR. NO. 17-20595
 v.
                                           HONORABLE MARIANNE O. BATTANI

 YOUSEF RAMADAN,

                     Defendant.
                                       /

                      ORDER GRANTING STIPULATION
                       TO FILE MOTION UNDER SEAL

       This matter having come before the Court upon stipulation of the parties, the

 Court finds that the relief requested is warranted.

       IT IS ORDERED that the Defendant’s Motion to Dismiss the Indictment

 Due to Outrageous Government Conduct, (Docket Entry No. 100), shall be filed

 under seal.

       SO ORDERED.


 Date: August 23, 2018                                 s/Marianne O. Battani
                                                       MARIANNE O. BATTANI
                                                       United States District Judge




                                             2
